          Case 1:19-cv-04264-WMR Document 1 Filed 09/20/19 Page 1 of 14




                    UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA

UNITED ARAB SHIPPING
COMPANY S.A.G,                                 CIVIL ACTION NO.:

Plaintiff,

v.

UPS SUPPLY CHAIN SOLUTIONS,
INC.; UPS OCEAN FREIGHT
SERVICES, INC.,

Defendants.


                                   COMPLAINT

     Plaintiff UNITED ARAB SHIPPING COMPANY S.A.G (“UASC”), and its

Complaint and causes of action against Defendants UPS SUPPLY CHAIN

SOLUTIONS, INC. (“UPS SUPPLY”) and UPS OCEAN FREIGHT SERVICES,

INC. (“UPS FREIGHT”) (collectively “Defendants”) and alleges as follows:

                          JURISDICTION AND VENUE

     1.      This is a maritime claim for breach of contract and unpaid freight,

detention, demurrage and/or storage costs pursuant to an ocean bill of lading and an

ocean carrier’s tariff and comprises an admiralty and maritime claim pursuant to

Rule 9(h) of the Federal Rules of Civil Procedure and 28 U.S.C. § 1331(1). In the




                                         -1-
         Case 1:19-cv-04264-WMR Document 1 Filed 09/20/19 Page 2 of 14




alternative, it presents a federal question under 28 U.S.C. § 1331 in that it arises

under the Shipping Act of 1984, as amended, 48 U.S.C. §§ 40101 et seq.

    2.    In the alternative, as there is complete diversity between Plaintiff and

Defendants and the amount in controversy exceeds jurisdictional amount set by 28

U.S.C. § 1332, the prerequisites for diversity jurisdiction under 28 U.S.C. § 1441(b)

are met and this Court is vested with subject matter jurisdiction over this action.

   3.     Venue is proper in this Court under 28 U.S.C. § 1391(b) in that the

defendants in this action are corporations with principal places of business in the

state where this Court is located.

                                     PARTIES

   4.     Plaintiff UASC now, and all material times was, a corporation duly

organized and existing under the laws of Kuwait with a principal place of business

at Airport Road, Shuwaikh, P.O Box 3636, Safat 13037, Kuwait. UASC is, and all

material times was, an ocean carrier and common carrier of goods for hire on ocean-

going vessels between United States ports and foreign ports.

   5.     Defendant UPS SUPPLY now, and at all material times was, a corporation

organized and existing under the laws of Georgia, with its principal place of business

at 12380 Morris Road, Alpharetta, GA 30005. UPS SUPPLY is, and at all material

times was, a non-vessel owing common carrier (“NVOCC”).




                                         -2-
         Case 1:19-cv-04264-WMR Document 1 Filed 09/20/19 Page 3 of 14




   6.     Defendant UPS FREIGHT now, and at all material times was, a

corporation organized and existing under the laws of Georgia, with its principal

place of business at 12380 Morris Road, Alpharetta, GA 30005. UPS SUPPLY is,

and at all material times was, a non-vessel owing common carrier (“NVOCC”).

   7.     UASC reserves the right to add any additional defendants that may be

liable for the acts and/or omissions set forth below.

                           FACTUAL BACKGROUND

   8.     On or about July 1, 2016, UPS SUPPLY booked two containers, being

Container Nos. UACU3281906 and IPXU 3578775 (collectively “Containers”), for

shipment with UASC for carriage from Barcelona, Spain to New York, New York

aboard the vessel M/V CMA CGM RACINE.

   9.     UASC received the Containers and transported the Containers from

Barcelona, Spain to New York, New York pursuant to the terms and conditions of

UASC Bill of Lading ESVLC136102 dated July 1, 2016 (the “UASC Bill”). The

UASC Bill identified UPS SUPPLY as Shipper and UPS FREIGHT as “Consignee”.

   10.    At all material times, UPS SUPPLY was the named shipped under the

UASC Bill, and thus qualifies as a “Merchant” under Clause 1 of the UASC Bill.

UPS SUPPLY was the entity for whose account the transportation services were

provided by UASC, was the party that benefitted from the transportation services




                                          -3-
         Case 1:19-cv-04264-WMR Document 1 Filed 09/20/19 Page 4 of 14




provided by UASC, and was an entity responsible for payment of charges relating

to the Containers.

   11.    At all material times, UPS FREIGHT was the named consignee under the

USAC Bill, and thus qualifies as a “Merchant” under Clause 1 of the UASC Bill.

UPS FREIGHT was an entity that received and benefitted from the transportation

services provided by UASC and was an entity responsible for payment of charges

relating to the Containers.

   12.    The Containers tendered by UPS SUPPLY to UASC for transportation

between Spain and the United States on ocean vessels for which freight and other

charges were lawfully incurred pursuant to the terms of the UASC Bill and/or

applicable tariff(s).

   13.    UASC’s Bill of Lading Standard Terms and Conditions (as applicable to

the relevant UASC Bill) provides the following:

          1. DEFINITIONS
          …

          “Merchant” means the Shipper, the Consignee and any Person acting
          on behalf of such person.
          …
          2. INCORPORATION OF CARRIER’S APPLICABLE
          TARIFF:

          2.1. The terms and conditions of the Carrier’s applicable tariff (“the
          Applicable Tariff”), a copy of which is available from the Carrier or his




                                         -4-
Case 1:19-cv-04264-WMR Document 1 Filed 09/20/19 Page 5 of 14




 agents upon request, are incorporated herein and apply mutatis
 mutandis. In case of inconsistency, the terms of this sea waybill shall
 prevail over those of the Applicable Tariff, save as regards freight,
 demurrage or detention on Containers or vehicles and other charges.

 13. MERCHANT’S RESPONSIBILITY
 …

 13.3 The Merchant shall indemnify the Carrier against all claims,
 losses, damages, fines, penalties and expenses arising or resulting from
 the Shipper’s breach of any of the warranties in Clause 13.2 or from
 any other cause in connection with the Goods for which the Carrier is
 not responsible including, but not limited to, the inclusion of the
 particulars of the Goods furnished by the Shipper in any manifest,
 custom declaration or any other declaration of any nature whatsoever
 by the Carrier, his servants or agents in reliance upon the adequacy,
 correctness and completeness of said particulars. 13.4 The Shipper and
 the Consignee shall be jointly and severally liable to the Carrier for the
 due fulfilment of all obligations undertaken by the Merchant in this sea
 waybill and such liability shall include, but not be limited to, court
 costs, expenses and reasonable attorneys fees incurred in collecting
 charges and sums due to the Carrier.

 14.   FREIGHT
 …

 14.5 The Shipper and Consignee shall be jointly and severally liable for
 the payment of all freight, charges, demurrage, detention, dead freight
 and any other amounts due to the Carrier, together with all court costs,
 expenses and reasonable attorneys fees incurred in collecting same.
 14.6 The Merchant is responsible for ensuring that all payments to the
 Carrier are actually received by the Carrier. Any Person providing
 forwarding services in relation to the Goods shall be deemed to be the
 agent of the Merchant for all purposes and any payment of any sums
 due to the Carrier by the Merchant to any such Person shall not
 constitute payment to the Carrier unless and until such sums are actually
 received by the Carrier.




                                 -5-
Case 1:19-cv-04264-WMR Document 1 Filed 09/20/19 Page 6 of 14




 18. MATTERS AFFECTING PERFORMANCE

 18.1 If the Carrier considers at any time that the Carriage or
 continuance thereof may subject the Vessel or other form of transport
 or other goods on board the Vessel or other form of transport to any
 hindrance, risk, danger, delay, difficulty or disadvantage of any kind
 (other than the inability of the Goods, due to their condition, safely or
 properly to be carried or carried further) and howsoever arising (even
 though the circumstances giving rise to such hindrance, risk, danger,
 delay, difficulty or disadvantage existed at the time this contract was
 entered into or the Goods were accepted for Carriage) and which cannot
 be avoided by the exercise of reasonable endeavours, the Carrier
 (whether or not the Carriage is commenced) at his sole discretion may,
 without notice to the Merchant, treat the performance of the contract of
 Carriage as terminated and place the Goods or any part of them at the
 Merchant’s disposal at any place or port which the Carrier may deem
 safe and convenient, whereupon the responsibility of the Carrier in
 respect of such Goods shall cease and the Goods shall be deemed to
 have been delivered to and at the risk and expense of the Merchant. The
 Carrier shall nevertheless be entitled to full freight on the Goods
 received for Carriage and all charges due under this sea waybill and/or
 the Applicable Tariff and the Merchant shall pay any additional costs
 of carriage to and storage at such place or port. 18.2 Without prejudice
 to the terms of Clause 18.1, the Carrier is at liberty, but under no
 obligation, to carry the Goods by an alternative route to the intended
 route, or that which is usual for Goods consigned to the Port of
 Discharge or Place of Delivery, and/or suspend the Carriage of the
 Goods and store them ashore or afloat upon the terms of this sea waybill
 and endeavour to forward them by some other means as soon as
 possible, but the Carrier makes no representations as to the maximum
 period of such suspension of Carriage. In either event, the Carrier shall
 be entitled to recover additional freight and/or charges from the
 Merchant pursuant to Clause 14.4 notwithstanding the provisions of
 Clause 17 above.
 …




                                -6-
         Case 1:19-cv-04264-WMR Document 1 Filed 09/20/19 Page 7 of 14




          23. NOTIFICATION AND DELIVERY

          23.3 The Consignee shall take delivery of the Goods within the time
          provided in the Applicable Tariff. If the Consignee fails to do so, the
          Carrier may with or without notice, but subject to its lien, unpack the
          Goods or part thereof if packed in Containers and store the Goods or
          part thereof ashore, afloat, in the open or under cover at the sole risk of
          the Merchant. Such storage shall constitute due delivery to the
          Merchant and thereupon all liability whatsoever of the Carrier with
          respect to the Goods or part thereof shall wholly cease and the cost of
          such storage (if paid or payable by the Carrier or any agent or Sub-
          contractor of the Carrier) shall forthwith upon demand be paid by the
          Merchant to the Carrier. 23.4 If the Merchant fails to take delivery of
          the Goods or part thereof within 30 days of delivery becoming due
          under Clause 23.3 or if, in the opinion of the Carrier, the Goods are
          likely to deteriorate, decay, become worthless or incur charges, whether
          for storage or otherwise, in excess of their value, the Carrier may
          (without prejudice to any other of his rights) without notice and without
          any responsibility whatsoever sell, destroy or dispose of the Goods and
          apply any proceeds of sale in reduction of any amount due to the Carrier
          from the Merchant.

   14.    On or about July 2016, the Containers were discharged in New York, New

York and made available for collection by UPS FREIGHT. However, neither UPS

FREIGHT nor UPS SUPPLY took delivery of the Containers and the cargo therein.

In the days that followed, neither UPS FREIGHT nor its affiliates undertook any

additional steps to secure the release of the Containers from the Maher Terminal in

New York, New York (the “Terminal”).

   15.    Accordingly, the Containers and cargo therein were left abandoned by UPS

FREIGHT and UPS SUPPLY at the Terminal as of July 11, 2016, thenceforth




                                          -7-
         Case 1:19-cv-04264-WMR Document 1 Filed 09/20/19 Page 8 of 14




incurring detention and demurrage charges on a per-day basis, as levied by the

Terminal.

   16.    UASC, through its attorney, learned and is informed and believes the

Containers contained products from UPS SUPPLY’s customer Clark-Cutler-

McDermott Company (“Clark-Cutler”). UASC is informed and believes Clark-

Cutler declared bankruptcy after UPS SUPPLY booked shipment of the Containers.

UASC is informed and believes the debtor in possession declared an interest in the

goods in the Containers, that UPS SUPPLY declared a security interest in the goods.

   17.    UPS SUPPLY, through its attorney, advised UASC that it and its affiliates

would be taking no action in respect to securing the release of the Containers. In

fact, UPS SUPPLY and its affiliates took no further action to compel release of the

Containers or otherwise resolve the continually accruing demurrage charges.

   18.    Given the above, UASC secured release of the Containers via agreement

with the trustee for the Clark-Cutler bankruptcy estate and arranged for removal of

the cargo therein from the Terminal, on or about March 12, 2018.

   19.    The total demurrage charges outstanding relating to the abandonment of

the Containers from July 11, 2016 to March 12, 2018 totals US$265,215.00.




                                        -8-
         Case 1:19-cv-04264-WMR Document 1 Filed 09/20/19 Page 9 of 14




   20.    UASC is informed and believes UPS SUPPLY and the Clark-Cutler

bankruptcy estate reached a settlement as it relates to UPS SUPPLY’s claim, in the

amount of US$256,209.63.

   21.    UASC, through its attorney, submitted a demand letter to UPS SUPPLY

for demurrage charges totaling US$265,215.00. To date, UASC has not received any

reimbursement or recompense from UPS SUPPLY or UPS FREIGHT.

   22.    As a result of UPS FREIGHT’s and its affiliates failure to take delivery of

the Containers and/or provide the required shipping instructions, UASC has incurred

damages, liabilities, charges, expenses, fees and costs for storage, detention and

demurrage.

   23.    Under the terms of the UASC Bill and/or applicable tariffs, UPS SUPPLY

and UPS FREIGHT are obligated to pay these costs, damages, and expenses due and

owing by UPS SUPPLY and UPS FREIGHT to UASC.

   24.    UASC fully performed all of its obligations under the UASC Bill. UPS

SUPPLY and UPS FREIGHT received and benefitted from the transportation

services provided by UASC, and are responsible for payment for those various

damages, expenses and costs related to the abandonment of the Containers.

                           FIRST CAUSE OF ACTION
                         (For Breach of Maritime Contract)




                                         -9-
         Case 1:19-cv-04264-WMR Document 1 Filed 09/20/19 Page 10 of 14




   25.     UASC refers to and incorporates by reference as though fully set forth at

length herein its allegations in paragraphs 1 through 24 above.

   26.     UASC transported and carried the Containers as described herein, at the

request and for the benefit of UPS SUPPLY and/or UPS FREIGHT, in accordance

with the terms and conditions of the UASC Bill.

   27.     UASC fully performed all of its obligations under the UASC Bill and

carried the Containers from Barcelona, Spain and successfully discharged the

Containers in New York, New York.

   28.     Under the terms of the UASC Bill and applicable law, UPS SUPPLY and

UPS FREIGHT were required to provide shipping instructions and/or accept

delivery of the Containers within the time provided for in UASC’s Bill, and they

agreed to be responsible and liable for any and all damages, liabilities, charges, costs,

expenses and fees arising from or resulting from their failure to provide shipping

instructions and/or accept delivery of the Containers.

   29.     Under the terms of the UASC Bill and applicable law, UPS SUPPLY and

UPS FREIGHT agreed to be liable and responsible for any and all detention,

demurrage and other charges due under the UASC Bill.

   30.     UPS SUPPLY and UPS FREIGHT breached the terms of the UASC Bill

by failing to provide shipping instructions and/or accept delivery of the Containers,




                                          -10-
         Case 1:19-cv-04264-WMR Document 1 Filed 09/20/19 Page 11 of 14




and by failing to pay UASC the damages, liabilities, detention, demurrage, and other

related expenses and fees arising from UPS SUPPLY’s and UPS FREIGHT’s breach

or breaches of the UASC Bill.

   31.     As a proximate cause of UPS SUPPLY’s and UPS FREIGHT’s breach or

breaches of the UASC Bill, breach of warranty, and the matters set forth herein,

UASC has incurred, and UPS SUPPLY and UPS FREIGHT are liable to UASC for,

damages in the amount exceeding US$265,215.00.

   32.     Under the terms of the UASC Bill, UASC is entitled to recover from UPS

SUPPLY and UPS FREIGHT attorneys’ fees and costs incurred as result of UPS

SUPPLY’s and UPS FREIGHT’s breach or breaches and/or incurred in collecting

the outstanding amounts from UPS SUPPLY and UPS FREIGHT.

                         SECOND CAUSE OF ACTION
                         (Money Due Under Marine Tariff)

   33.     UASC refers to and incorporates by reference as though fully set forth at

length herein its allegations in paragraphs 1 through 32 above.

   34.     UASC transported and carried the Containers as described herein, at the

request and for the benefit of UPS SUPPLY and/or UPS FREIGHT, and in

accordance with the terms and conditions of the UASC Bill and subject to the rates

and charges in its tariffs on file with the Federal Maritime Commission.




                                        -11-
         Case 1:19-cv-04264-WMR Document 1 Filed 09/20/19 Page 12 of 14




   35.     Under the said tariffs, UASC is required to collect and is entitled to recover

from Defendants, and Defendants are required to pay UASC, all unpaid demurrage,

detention, port and terminal storage charges, and any other damages, liabilities,

charges, penalties, costs, expenses and fees arising from the carriage of the

Containers, as well as UPS SUPPLY’s and UPS FREIGHT’s failure to provide

required shipping instructions and/or accept delivery of the Containers.

   36.     Despite demand for payment, UPS SUPPLY and UPS FREIGHT have

failed to pay UASC amounts due under the tariffs and tariff compensation is due,

owing and unpaid to UASC from Defendants in an amount exceeding

US$265,215.00 together with attorneys’ fees, costs and expenses incurred in

collecting said charges.

                            THIRD CAUSE OF ACTION
                                  (Negligence)

   37.     UASC refers to and incorporates by reference as though fully set forth at

length herein its allegations in paragraphs 1 through 36 above.

   38.     At all material times herein, UPS SUPPLY and UPS FREIGHT owed

UASC a legal duty to exercise due care to provide required shipping instructions

and/or to accept delivery of the Containers in New York, NY. The legal duty of

Defendants to UASC arose because UPS SUPPLY and UPS FREIGHT are parties

to the UASC Bill. The legal duty of Defendants to UASC also arose independently




                                           -12-
         Case 1:19-cv-04264-WMR Document 1 Filed 09/20/19 Page 13 of 14




of the aforesaid bills of lading because of many factors, including, without

limitation, the foreseeability of harm to UASC from their acts and omissions, the

degree of certainty that UASC suffered injuries, the closeness of the connection

between Defendants’ conduct and the injury suffered.

   39.     Defendants breached their duty of care by, inter alia, failing to provide

required shipping instructions and/or accept delivery of the Containers in New York,

New York or otherwise arranging for the Containers’ delivery.

   40.     As a proximate result of the negligence of Defendants, UASC has incurred,

and Defendants are liable to UASC for, additional freight, storage, demurrage,

detention, liabilities, charges, penalties, costs, expenses and fees in an amount

exceeding US$265,215.00, plus any additional damages and costs as they continue

to accrue.

                                     PRAYER

   WHEREFORE, Plaintiff UASC prays for judgment against UPS SUPPLY and

UPS FREIGHT as follows:

   1.      That the Court order judgment in favor of UASC and against UPS

SUPPLY and UPS FREIGHT jointly and severally in an amount not less than

US$265,215.00 for any and all freight, storage, demurrage, detention, liabilities,

charges, penalties, other costs, expenses and fees caused by UPS SUPPLY’s and/or




                                        -13-
        Case 1:19-cv-04264-WMR Document 1 Filed 09/20/19 Page 14 of 14




UPS FREIGHT’s breach or breaches of the UASC Bill and/or applicable tariff

and/or negligence, for all amounts due under UASC’s tariffs, as well any additional

damages and costs that continue to accrue at an amount to be established at trial;

   2.     That the Court award UASC its attorney’s fees, costs and expenses

incurred as a result of UPS SUPPLY’s and/or UPS FREIGHT’s breach or breaches

and/or in collecting the sums due from UPS SUPPLY and/or UPS FREIGHT;

   3.     That the Court award UASC interest on all of the above as well as its costs

of suit; and

   4.     That the Court award such other and further relief as the Court deems just

and proper.

   Dated this 20th day of September, 2019.

                                          GORDON REES SCULLY
                                          MANSUKHANI, LLP

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                                        -14-
